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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:15CR3114
      vs.
                                                   MEMORANDUM AND ORDER
YULIO CERVINO-HERNANDEZ AND
ALEXANDER CASTELLANO-BENITEZ,
                    Defendants.


      Defendant Alexander Castellano-Benitez has moved to continue the pretrial
motion deadline, (filing no. 55), 30 days because the defendant has recently received
additional discovery from the government and needs to review that discovery before
deciding if pretrial motions should be filed. The motion to continue is unopposed by the
Government. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1)      Defendant’s motion to continue, (filing no. 55), is granted in part and
denied in part. The pretrial motion deadline will be continued 14 days.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before March 23, 2016.

      3)     As to both defendants, trial of this case remains continued pending
             resolution of any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and

             a.     As to both defendants, the additional time arising as a result of the
                    granting of the motion, the time between today’s date and March 23,
                    2016, shall be deemed excludable time in any computation of time
                    under the requirements of the Speedy Trial Act, because although
                    counsel have been duly diligent, additional time is needed to
                    adequately prepare this case for trial and failing to grant additional
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                 time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1),
                 (h)(6) & (h)(7).

          b.     Failing to timely file an objection to this order as provided in the
                 local rules of this court will be deemed a waiver of any right to later
                 claim the time should not have been excluded under the Speedy Trial
                 Act.

    5)    An evidentiary hearing on defendant Yulio Cervino-Hernandez’s motion to
          suppress, (filing no. 47), will be held before the undersigned magistrate
          judge on March 30, 2016, at 2:00 p.m. in Courtroom no. 2, United States
          Courthouse, Lincoln, Nebraska. Three hours have been set aside for this
          hearing.

    6)    The defendant, defense counsel, and counsel for the government shall be
          present at this hearing.

    7)    Pursuant to NECrimR 12.5, copies of all exhibits expected to be offered
          into evidence during the hearing, except those to be used for impeachment
          only, shall be delivered to the chambers of the undersigned at least twenty-
          four (24) hours before the hearing and, at the outset of the hearing, to the
          extent reasonably possible, the parties shall provide the undersigned and the
          courtroom deputy with a written list of all witnesses the parties expect to
          call.

    Dated this 11th day of March, 2016

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge




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